
Respondent has submitted a Motion to Resign in Lieu of Discipline pursuant to Rule 35, RLDE, Rule 413, SCACR. In light of Respondent's serious misconduct which demonstrates an unfitness to practice law, we grant the Motion to Resign in Lieu of Discipline. In accordance with the provisions of Rule 35, RLDE, Respondent "acknowledges that disciplinary counsel can prove" the allegations of misconduct. Moreover, Rule 35 provides Respondent's resignation shall be permanent , and he will never be eligible to apply, and will not be considered, for admission or reinstatement to the practice of law or for any limited practice of law in South Carolina.
Within fifteen (15) days of the date of this order, Respondent shall file an affidavit with the Clerk of Court showing that he has complied with Rule 30, RLDE, and shall also surrender his Certificate of Admission to Practice Law to the Clerk of Court.
**567/s/ Donald W. Beatty, C.J.
/s/ John W. Kittredge, J.
/s/ Kaye G. Hearn, J.
/s/ John Cannon Few, J.
/s/ George C. James, Jr., J.
